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                  AMENDED EXHIBIT A TO
                  DEFENDANT’S SENTENCING
                  MEMORANDUM
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    Hon. Cecilia M. Altonaga
    Wilkie D. Ferguson, Jr. United States Courthouse
    400 North Miami Avenue
    Room 12-2
    Miami, Florida 33128


    Dear Judge Altonaga,


    I am writing this letter in support of Senthil K. Ramamurthy. I am Ajit Londhe, Senthil’s
    brother-in-law, married to his younger sister, Meenakshi. I acknowledge that he has pled
    guilty to commit healthcare fraud. Based on my experience with him, I would like to explain
    to the Court that this indiscretion is not fully representative of his true character.


    Over our five years of friendship, I have been impressed with his character, his generosity, and
    his many talents. The first time I met Senthil, he welcomed me with open arms, treating
    Meenakshi and I to dinner and introducing me to his friends. He thought of me like a
    brother-in-law immediately, even though Meenakshi and I only had just started dating. I was
    shocked at how quickly we connected, talking about movies we’d seen and joking about the
    latest pop culture. He was funny, affable, and made an effort to get to know me as a person
    right away. At the time I was new to Los Angeles, having moved from the east coast. Senthil
    was insistent on taking me to his favorite places and making sure I felt at home.


    Senthil is also an avid musician, who seems to excel at any instrument you give him: guitar,
    piano, sitar. He has an almost encyclopedic knowledge of musicians and their songs from both
    the US and India. Senthil is also a very spiritual person; he prays often at home, and attends
    the Hindu temple frequently, supporting the Indian community and contributing however he
    can to their charities. He is always happy to share his culture in a way that helps others.


    Senthil has shown me time and time again how much he cares about his family and friends.
    He especially loves to express his love by cooking. On a recent Thanksgiving dinner he
    worked tirelessly on slow cooking the turkey and preparing some amazing side dishes. He
    made sure everyone was well taken care of and got seconds. I know Senthil as a person who is
    eager to please, and I believe it was this quality that led him to the mistakes that ultimately
    brought him here before you.
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    I am a Senior Manager at Amgen, Inc., where my job is to research the safety and efficacy of
    drugs. I have worked in this sector for the past twelve years and received my masters degree in
    public health. Because of my background and the way my work affects the public, I take
    healthcare very seriously. However, having worked in this industry for so long, I am also
    painfully aware of the constant changes and complexity of healthcare legislation. It is my
    belief in knowing Senthil and this industry, that he did not seek to cause harm, but he simply
    did not understand the gravity and complexity of this business.


    Since the investigation started, Senthil has shown nothing but remorse and regret for his
    actions, and a steadfast determination to right his wrongs and be a more responsible person.
    He is aware of the excruciating anguish and financial strain his actions have had on his sister
    and his entire family. I do not believe him to possess a personality that seeks to harm, rather, I
    believe he foolishly became enamored by material success. I feel that Senthil has matured
    from his mistakes, and that when this period in his life passes, he will help his community
    through his passion for music and culture.


    I implore you to consider Senthil’s true character when deciding upon his fate. There is much
    more to him than the unfortunate acts of this case. He is a loving son, brother, and friend to us.
    He has owned his mistakes and is resolute to rebuild his life the right way by contributing to
    society.


    Sincerely,




    Ajit A. Londhe, MPH
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    Hon. Cecilia M. Altonaga
    Wilkie D. Ferguson, Jr. United States Courthouse
    400 North Miami Avenue
    Room 12-2
    Miami, Florida 33128


    Dear Judge Altonaga,


    I am writing this letter in support of Senthil K. Ramamurthy. I am Parvatha Arunachalam,
    Senthil’s Aunt. I am aware that he has pled guilty to commit healthcare fraud. Based on my
    many years knowing Senthil, I would like to describe the character of the man I know.


    I have known Senthil since he was a child, and throughout his life he has always shown
    intelligence and has had a passion for the arts, especially music and painting. Senthil is the
    type of person who immerses himself completely in his interests. Though his family lived in a
    small town in Texas, he had a great respect for his culture and was committed to the challenge
    of learning whatever he could about it from afar. He trained on the sitar and practiced
    Hinduism ardently. He is a person who holds in great regard sacrifices made by the
    generations before him and always wants to make sure he takes the time to honor them.


    I’ve lived in India for many years and would spend time with Senthil whenever he came with
    his family to visit. On every trip, it was important for Senthil to give gifts and donate to the
    education for the local children. I remember fondly how they would gather around and hug
    him. He knew he lived a more fortunate life than them and he wanted to do whatever he could
    to pay it forward.


    In addition to having his parents as physicians, Senthil’s great grandfather was also a doctor. I
    believe he inherited this love of helping and healing others, and I was proud of him when he
    decided to apply to medical school. It was wonderful to see him put his loving and caring
    nature into his career. Unfortunately before he completed medical school, Senthil went down
    the wrong path, which led him to you today.


    Your Honor, Senthil has taken full responsibility for his actions and understands the
    seriousness of the circumstances. Though it may sound odd, I am prouder than ever to be his
    Aunt. It takes courage and strength to admit your wrongs and face the consequences. As a
    family, it is a struggle to live life without him, and I urge you to consider how vital his
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    position as a caregiver to his aging parents and supportive brother in making your decision. I
    know with your help, he has the potential to continue his life serving as a loving, caring
    person. I pray for your benevolence as you make this important decision.


    Respectfully,




    Parvatha Arunachalam
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    Hon. Cecilia M Altonaga
    Wilkie D. Ferguson Jr. United States Courthouse
    400 North Miami Avenue
    Room 12-2
    Miami, Florida 33128

    Dear Judge Altonaga,

    I am writing this letter in support of my son, Senthil Ramamurthy, in advance of his upcoming
    sentencing. I am aware that he has plead guilty to conspiracy to commit healthcare fraud and will
    soon be appearing before you in court.

    My name is Kannan Ramamurthy, I am the father of Senthil Ramamurthy. I am a seventy-two
    year old physician, disabled due to heart conditions. I have practiced medicine for forty-two
    years in predominantly low income and underserved areas. In all my years of practice, I have
    never had a claim of malpractice.

    My son, Senthil Ramamurthy, is very loving and caring person. He was the son of two busy
    doctors and growing up he did whatever he could to help our family. Our work was demanding,
    and Senthil helped us by taking care of his younger sister Meena and doing chores around our
    office. When we moved to Texas, we were one of the few doctors practicing in an underserved
    bordertown. I often had to take late night calls at the hospital, and Senthil would drive me to the
    ER at all hours, making sure I traveled safely.

    When my sister who was a practicing physician in New York was murdered in her home, Senthil
    was just twelve years old. Yet even at his age, he was so strong, and he gave me the courage to
    finish her funeral ceremony. My sister and I were very close - she always my advisor and taught
    me how to be a better person and doctor. Without her, I didn’t know how I could continue on
    with my life. But Senthil’s courage and affection helped me come out of my sadness.

    As a student, Senthil had a special talent for music. One of his teachers, a former singer for
    Cyndi Loper, told me he had a gift for picking up music quickly. From an early age he would
    play many instruments and write his own music. We both shared a love for the Beatles and he
    would fill our home with music. He learned my favorite song “When I’m Sixty-Four” on guitar
    and played it often. He delighted in sharing his talent with others.

    I know my son to be an honest person, almost to a fault. This may seem strange given the current
    circumstances, but the son I know has always had a naive innocence. When he began driving, I
    remember a teenage girl classmate asked to ride with him to school. As a protective parent, I was
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    worried their relationship would distract his driving, and I told him to make up an excuse. Of
    course, he ended up revealing my concerns to her. He is the kind of person who wants to be
    everyone’s friend and simply cannot tell a lie.

    As Senthil grew, he showed academic achievement in maths and sciences. He won many awards
    and most importantly, shared his knowledge with his sister and his fellow students. He would
    spend hours tutoring his classmates and his sister. He wanted to make sure everyone had the
    same chance he did to succeed.

    After spending time trying to pursue a career in music, Senthil decided to apply to medical
    school. He did well in the rigorous environment, passing his exams, and was excited to begin his
    clerkship rotations in Miami. As a father, I was proud to have my son follow in my footsteps.

    Unfortunately, once in Miami my son took a turn in the wrong direction. An impressionable
    person, I believe he fell for short-lived success and poor role models.

    Although he went down this path, he remained my loving son. During my heart surgery, he
    stayed at my bedside caring for me and praying for my recovery. As a spiritual person, I know
    my son always strives to do good and it was not his intent to hurt anyone, especially his mother.

    In the months since the investigation and his incarceration, I have seen my son learn the lesson to
    be more cautious in his life and his judgement. He has accepted responsibility for his actions and
    wants to do whatever he can to right his wrongs for himself, his family, and his community.

    At my old age, I was counting on my son to help me to finish my last journey. I ask your
    compassion to help him be at my side. I’m confident that if given the opportunity he can be a
    fine physician and productive member of society. I hope you can see the loving person I know
    and a man who has grown from his mistakes.

    Sincerely,




    Kannan Ramamurthy, MD
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    Hon. Cecilia M. Altonaga
    Wilkie D. Ferguson, Jr. United States Courthouse
    400 N. Miami Ave.
    Room 12-2
    Miami, FL 33128


    Dear Judge Altonaga,


    I write to you regarding Senthil Ramamurthy and his guilty plea for conspiracy to commit health
    care fraud. Upon hearing that he is due for sentencing I felt compelled to share my insights on
    Senthil’s character and hope you consider them in the challenging process of determining his
    sentence.


    Senthil and I first crossed paths while we were both in high school, almost twenty years ago, as
    I befriended his sister, Meenakshi. During these formative years the Ramamurthy household
    was a warm, loving, and welcoming space to me and I continued to see Senthil, the ever
    cheerful, heartfelt big brother figure during holidays as he and then I went off to universities far
    beyond the reach of the hot South Texas sun.


    After some challenges during college and post graduation, I was impressed when Sentil
    followed in his parents’ footsteps by pursuing a career in medicine. He had seen the positive
    influence his parents had made for patients in the tight-knit community of the Rio Grande Valley
    and wished to continue the tradition of living a life in the service of his community. He worked
    hard academically and found a path to start training as a physician. To this end, he served as a
    role model for me as I pursued my own circuitous route to my current status as a fourth year
    medical student. Yet at some point our paths diverged as Senthil fell into a chain of unfortunate
    events leading to his current predicament. Hearing of Senthil’s trajectory left me feeling
    dumbfounded. It was out of character with the brotherly figure who I had known, always willing
    to share stories and wisdom.


    Senthil has acknowledged and owned his serious wrong-doings. I believe he has returned to the
    man I know, a caring person no longer clouded by hubris. While I cannot speak with Senthil
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   while he is in custody, I know he would soberly share with me his experiences, brushing aside
   his own shame and pain, to ensure as a medical student I don’t fall into the same predicament.


   It is my sincere hope that you show Senthil compassion in your decision. I believe if given the
   opportunity, Senthil will redirect his work ethic towards humble service of his community. Many
   thanks for your time and consideration.




   Best,




   Luis Capuchina
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   Hon. Cecilia M Altonaga
   Wilkie D. Ferguson Jr. United States Courthouse
   400 North Miami Avenue
   Room 12-2
   Miami, Florida 33128

   Dear Judge Altonaga,

   I am writing this letter in support of my brother, Senthil Ramamurthy, in advance of his
   upcoming sentencing. I am aware that he has pled guilty to conspiracy to commit healthcare
   fraud and will soon be appearing before you in court.

   My brother is my everything. He is my only sibling, and was five years old when I was born. As
   a child I doted on him, as many younger siblings do. If he played video games or went over to
   his friend’s house, - I wanted to come too. We were a traditional Indian immigrant family, and
   as a girl my parents always wanted to protect me more. Yet my brother always encouraged my
   independence, taking me along wherever he went, including me with his friends, and showing
   places I know I would not have been able to see alone. As a result, I grew up more fearless of
   taking on challenges and making my voice heard.

   As children, we loved living in New Jersey. There was a thriving Indian community, and my
   brother had made good friends at his private school. Our parents had emigrated to America
   through hard work and dedication to medical school and placed a high value on education. They
   wanted the best for us - but the financial burden of expensive private school tuition, the stress of
   medical billing, and the increasing cost of living in New Jersey made them seek out more
   affordable options. When our parents received an offer to practice in a Texas bordertown, they
   decided to take it.

   Texas was a culture shock to us. ​When we arrived at the “Rio Grande Valley,” as locals call it, it
   was hot, humid, and mostly farmland. We couldn’t believe our parents could leave a bustling city
   on the East Coast for some small town in the middle of nowhere. But for them, the peaceful
   small town and the warm weather reminded them of southern India and they were enthusiastic
   about making it our home.

   The move was difficult for us, especially my brother. He was almost a teenager and had lost his
   core group of friends. His private school education had been more accelerated and he felt bored
   and unchallenged in his new school. The population of our town was almost entirely of Mexican
   descent, and as an Indian boy he was decidedly different. While I was too young to face bullying,
   my brother was quickly labeled a fat, Indian nerd and teased incessantly by his classmates. These
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   kids had never met someone like him and would project whatever stereotypes they heard: teases
   with thick accents about 7-11 owners and snake charmers were common. My brother wanted
   desperately to move ahead and tested out so he could skip a grade and enter highschool.

   There are many assumptions that come with having parents as doctors, but our lifestyle did not
   feel glamorous or priviledged. After school, we would wait hours for one of our parents’ staff to
   find a break to pick us up. Our parents loved us deeply and were fearful of leaving us under the
   care of babysitters, so they decided that having us tag along to their work was the best solution.
   Once at their office, we would do our homework until our parents had finished their work. Often
   after leaving the office, we would accompany our parents to the hospital for calls and wait in
   hospital waiting rooms. As primary care internists that specialized in geriatrics, their patients had
   long and complicated cases, and our parents were the kind of providers who would spend their
   time getting to know their patients and their conditions intimately. While at times having parents
   as doctors was frustrating, we loved spending time together.

   As we got older, my parents’ practice became our “immigrant grocery store,” and my brother
   and I would help out wherever we could. They would get mountains of mail, mostly insurance
   rejections and bills, and we would sort it. We helped file paperwork, take out the trash, gather
   deposits -- simple things to make their life a little easier. We didn’t know at the time that my
   parents were struggling to figure out a way to bill for the services they provided and understand
   the increasingly complex healthcare system. The lower cost of living by the border made it easier
   to make ends meet, and though we didn’t have much, we were happy with what we had.

   Despite my brother’s difficulties at school, he always brought positivity and joy to our hectic
   life. He had an incredible imagination and would devise countless adventures for him and I to go
   on without ever stepping outside. As his isolation increased at school, music became his outlet.
   He was the kind of person that could pick up any instrument and sheet music and learn it easily.
   We spent countless afternoons recording and make music together. He played guitar and I played
   trombone. I can’t say our music was good, but it was fun to be creating together. He even
   challenged himself to learn the entire Beatles songbook on guitar to impress my dad, a long time
   Beatles fan. In short, my brother is the type of person who always wants to make others feel like
   they are loved and belong.

   In so many ways, my brother positively impacted my childhood. Whenever our parents worked
   late he would pick me up from school and make me dinner. He helped tutor me in math and
   science. I remember him showing me how to wire circuits to make my own radio station,
   explaining how to use my first computer, and coaching me through algebra. At a time when girls
   were discouraged from STEM subjects, he empowered me to do my best. Outside of academics,
   he would introduce me to new culture with music and movies. We loved watching ​Back to the
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   Future​ and listening to Lauryn Hill. These were his ways of helping me fit in and making sure I
   had a better experience at school than he did.

   When my brother entered high school at just twelve years old, he was determined to achieve
   academically. As the only immigrant son, there were a lot of expectations placed on him to
   become a doctor like our parents, and he wanted to do whatever he could to make them proud.
   Because of their long work hours, my parents encouraged him to find after school activities. He
   was an excellent programmer and at the urging of his computer science teacher, joined the
   computer science team. With his teacher, he studied after school and traveled throughout Texas,
   competing many times at state championships. Outwardly, it seemed he was succeeding, but it
   wasn’t until years later than I learned his teacher preyed on his youth and vulnerability to inflict
   years of sexual abuse. It was angering to learn about the cruelty of a teacher we trusted, and like
   much childhood abuse, I feel it had a lasting impact on my brother.

   When it was time for my brother to go to college, he was eager to go out of state. But he was too
   young and ill-equipped. Our parents were very protective of us, and he never learned the life
   skills necessary to live alone as an adult. He transferred around to a few colleges and struggled
   with depression. He turned again to music, making trips to Austin, TX to explore the music
   scene, where he met friends Thomas Sahs, Anthony Mauzy, and Rajesh Mahbubani. For a few
   years, he lived at home with our parents trying to figure out how to make a career out of music.
   Our parents were insistent on him completing college, and eventually he graduated from a local
   college with a business degree.

   During that time, I started college myself. And just as he did in when I was in grade school, my
   brother did whatever he could to support me. When I rebelled against our parents and decided to
   focus my studies in film, he confided in me that he wished he had utilized college to pursue the
   arts as well. He would make the six hour drive up and spend weekends with me, helping me out
   on film projects and getting to know my roommates. In many ways, I approached life during
   college and beyond more wisely because of him. My brother had the burden of having to do
   everything first and I benefited from learning from his mistakes and struggles; he touched the
   fire, so I wouldn’t have to.

   When I graduated from college during the 2008 recession and joined my brother at home, we
   realized that my parents’ practice had been pushed to the brink of financial strain. As busy
   physicians in an underserved area, our parents were never afforded the time to think about how
   to run the administration of their practice. They had hired specialists to share the workload and
   bought new equipment to try and boost revenue, but both strategies backfired and put them
   hundreds of thousands of dollars in debt. Out of ideas, our parents turned to their new college
   grads to figure out how to revive their business. To bring in patients, my brother reached out to
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   adult day cares and home healths to help provide transportation and meals to make visits easier
   for our poor and elderly patients. I remember one day he was so excited to show me that a
   company he reached out to had pledged to provide breakfast tacos to patients for a whole week.
   Soon, we had a steady volume of happy patients. Since billing for services and finding
   professionals in the area was was always an issue, my brother and I researched and found a
   professional biller in Austin. This helped bring coding up to date to handle the mountains of
   rejections our parents had faced since our childhood. While what we were doing seemed small,
   we saw the effects quickly. It was exciting to work with my brother and we felt good to help our
   parents who had worked so hard to provide for us.

   After a few years of hard work, my parents were debt free. I felt comfortable leaving home and
   going to graduate school for film. While my brother loved music - he couldn’t figure out a way
   for it to provide the stable income and life he knew our parents wanted. He enjoyed helping the
   community through his efforts in the practice and felt it was the right time to start medical
   school. Because of his low undergraduate grades, my brother focussed on applying to Carribean
   medical schools. These schools are typically easier to get into than US based medical schools
   which are highly competitive and have limited spots. Ultimately, my brother was accepted to
   Ross University, based on the island of Dominica.

   My brother flourished in the medical school environment. He welcomed the challenge, and just
   as he had done with me, spent time tutoring classmates that had trouble mastering new subjects.
   Even though we were apart, he proudly shared with me study guides and videos he made to help
   other students. Like the Rio Grande Valley, the community of Dominica was predominantly
   minority laborers. My brother felt committed to help the population and volunteered to help in a
   charity clinic whenever he could. I was happy to see the generous brother I knew put that aspect
   of his character into his work. He was amongst like minded and intelligent peers, and it seemed
   like he was finally finding his footing.

   After my brother completed his education in Dominica, the medical school placed students at
   various clinical rotations throughout the US. My brother was placed at a psychiatry rotation at
   Compass Health System in Miami. His peers told him that this was a very special opportunity,
   and that Compass Health System and Dr. Segal, its owner, were very well respected in southern
   Florida. Compass was everything our parents medical practice by the border wasn’t: it had tons
   of ancillary services, facilities in three states, and was bringing in high revenues. My brother was
   eager to impress his new teachers, Dr. Segal and his longtime administrator, John Scholtes.

   My brother wanted desperately to be in the same circles as these high power health care
   businessmen and was attracted by Miami’s flashy lifestyle. On my visits to see him, I tried to
   take on the role of “older” younger sister, advising him to be careful with his new relationships
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   and starting a healthcare related business. From our hardships working in our parents practice, I
   knew understanding the health care and insurance system to be exceedingly difficult. And while
   my brother is the type of person who is always enthusiastic about new ideas, he is not an
   organized or sophisticated person. In many ways I feel his difficult childhood and struggles with
   mental health stunted his growth as an adult. I was concerned the diligence required by this
   company was way out of his wheelhouse. But the new venture was bringing in money quickly,
   and he didn’t have the ear for my advice. He assured me he was working with Scholtes and
   attorney Craig Cuden, men with decades of healthcare experience. Not knowing how to hire or
   recruit, he brought on the only people he knew: his medical school classmate and his friends
   from Texas. Though he didn’t want to admit it, he was flailing. When the company struggled to
   find a provider to see patients, he asked our mom if she could conduct a few telemedicine visits.
   Despite the mess of the business, he was making more money than our little family business ever
   did and felt he had accomplished everything our parents wanted without spending years in
   medical training. Although he was close to finishing medical school, our parents were
   disappointed when he told them he wanted to leave.

   Despite our disagreements during this time, he still maintained the role of a loving brother, son,
   and friend. When our father suffered from a severe blockage of his coronary arteries, he stayed
   with him during his recovery and stent implantation. During grad school, he came to my film
   screenings and would beam to my friends how proud he was of my creativity and
   accomplishments. When I suffered from severe uterus pain and was admitted to a clinic, he held
   my hand until the pain subsided. I saw him welcome friends that had nowhere else to stay into
   his home for weeks at a time and invite them over for Thanksgiving dinner. What money he
   retained, he donated to our local Hindu temple to help improve the facilities and feed the less
   fortunate. I knew his new character was just compensating for old insecurities and the brother I
   loved was still underneath it all.

   When ultimately my brother’s money ran out and he moved back home, he sunk into a deep
   depression. He was in debt and our now aging parents did their best to support him. When the
   investigation began and later involved our mother, he expressed to me the great amount of
   responsibility and shame he felt causing our family so much pain. It was never his desire to err
   so greatly. He had lost control, chasing after fleeting markers of success, and in turn and caused
   our family to lose the American Dream we worked so hard to build.

   On the day of the hearing where my brother was detained, he said goodbye to us by touching our
   feet. In Hindu culture, this one of the greatest signs of respect. It was something my brother had
   never done before and a sign that he knew the actions that led him here were beneath his
   character. He placed himself for judgement at the feet of those who mattered most to him - his
   family. It didn’t surprise me that soon after, he took responsibility for his actions by pleading
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   guilty and has continued to do whatever possible to assist prosecution on his case and others. He
   was returning to the man I had known my whole life, a generous and kind spirited person who
   wants nothing more than to love and support those around him.

   In the past few months, I have seen true remorse in my brother. As his sister, I often feel like his
   harshest critic. But in truth, I have seen him become a person of strong resolve and character. No
   longer is he focussed in self-interested pursuits; he wants nothing more than to help our mother
   and family in whatever way he can. We are extremely close, and at times not having him in my
   life feels like my whole heart and world are ripped apart. When I got married recently and my
   brother could not attend, we both felt the pain and loss of liberty his actions had caused; he could
   not be apart of a milestone for his only sister. As he broke down and congratulated me that day
   on the phone, he told me he was determined to be a better brother to me.

   Your Honor, in writing to you, my hope is that you see the brother I have known my whole life:
   a kind, generous person with a big heart, beloved by his family and friends. People often say it
   takes a village to raise a child, and as the child of hardworking immigrants, my brother was my
   village. While he has undoubtedly made a severe lapse in judgement, I believe this was a rare
   occurrence for him. He is doing everything he can to take responsibility for his actions.

   Today, Your Honor, I am at your feet, asking for leniency and forgiveness. I worry about my
   ability to provide care to my aging mother and disabled father alone. If given the chance, I know
   that my brother is capable of serving his community and providing so much good to the world
   and that this is the type of rehabilitation the criminal justice system truly seeks. I appreciate your
   time and consideration in reading about someone I hold so close to my heart.



   Sincerely,




   Meenakshi Ramamurthy
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   Hon. Cecilia M Altonaga
   Wilkie D. Ferguson Jr. United States Courthouse
   400 North Miami Avenue
   Room 12-2
   Miami, Florida 33128

   Dear Judge Altonaga,

   I am writing this letter in support of my son, Senthil Ramamurthy, in advance of his upcoming
   sentencing. I am aware that he has plead guilty to conspiracy to commit healthcare fraud and will
   soon be appearing before you in court.

   I am Dr. Mangala Ramamurthy, mother of Senthil Ramamurthy. I was twenty-five years old
   when I came to the US from India, newly married to an immigrant doctor. I had my own medical
   diploma and dream, but no dollars in hand. Far away from my family, depression was inevitable,
   especially as I started my new life in New York’s most bitter cold months. My mother in India,
   encouraged me to make my own world around me and to create the warmth I sought. And mom
   is always right! The following year, when I delivered Senthil, I found the sunshine of my life.
   Looking at his baby face encouraged me to go through harsh medical training without any
   regrets.

   A few years later, our family moved to Texas to practice in the underserved bordertown known
   as The Rio Grande Valley. We were dedicated to our community and worked countless hours to
   improve the healthcare of the valley. I remember those long years, raising my children in
   hospital waiting rooms, only going home at the end of a long day to sleep. These were the dues
   my kids paid to have both their parents as doctors.

   As my older child, Senthil always helped take care of his sister Meena. Our lives were so busy, I
   was thankful to have him play with her and help her with her studies. He loved to help out in the
   kitchen and often made her dinner. He especially helped Meena with math as that was his strong
   suit. Over the years, he made a point to take her to school and be present for her
   accomplishments. I have no doubt that his support has shaped her into the independent woman
   she is today.

   Still, the move to Texas was difficult for Senthil and sent him into a depression. The pace of
   education in Texas was much slower than in New Jersey. To keep him invested in his education,
   we helped him take a qualifying exam to skip a grade. Senthil was a very bright boy; he was
   known for his amazing memory and his classmates and teachers often remarked he was
   “annoyingly” smart. He was the kind of student that would raise his hand even before the teacher
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   finished asking the question. In addition to his academic skill, Senthil had a passion for music
   and the ability to pick up and play any instrument he came across. He loved playing guitar, sitar,
   and piano. I remember fondly that his music teacher would get upset when he didn’t take his
   music book to class and would instead play from memory. At home, Senthil would always share
   his joy of music with us and it made our hearts full.

   Senthil was only twelve when he started highschool. His school principal was so worried he
   would flunk badly, and didn’t want to put him in honors courses. Senthil disproved him by
   passing his courses with distinction. Throughout highschool, math and computer skills came
   easily to him. He impressed his teachers, and to nobody’s surprise, graduated in the top ten of his
   class. He was the kind of person who wanted to show people he was capable of anything.

   When it came time to go to college, like most teenagers, Senthil was eager to leave his parents
   and enjoy his freedom. We were such protective parents, and we did our best to never let our
   kids out of our sight until they left home for college. In retrospect, I believe this made the
   transition to living alone difficult for Senthil. After finishing his first year at the University of
   Houston, he transferred to University of Chicago. But his homesickness and Chicago’s cold
   winters gave him depression. His grades spiraled down, and we brought him closer to home to
   recover. After some time, he decided to go after his passion of creating music. He had some
   small successes, even collaborating on an album with Gloria Trevi, but it was difficult for him to
   find consistent work.

   After several years of trying to make it in the music industry, Senthil went back to school and got
   a degree in business. We were excited for his next steps, but privately our personal and private
   finances were suffering. Always an affectionate and caring son, Senthil promised me he would
   do whatever he could to help. He spent time with his sister to help us get back on our feet. I was
   proud of my children for using their intelligence to organize the administration of our business. I
   didn’t think it was possible that we would ever get out of debt, but as children are apt to do, they
   proved us wrong. The experience brought us closer as a family and Senthil began to see a future
   for himself in medicine.

   Senthil took the necessary prerequisites and passed the MCAT to join Ross medical school in
   Dominica. On our calls we bonded over our shared medical experience, and he would share with
   me the study tips he created for other students. Medical school can be very difficult, and he was
   always the kind of person who liked to help when he saw someone was struggling. He was so
   excited when he completed medical school and came back to the US to finish his clerkship
   rotations. He only had a few more rotations to graduate as a medical doctor when he started his
   rotations at Compass Health System. Unfortunately, he fell for fleeting distractions and lost his
   sense of direction.
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   Ultimately, Senthil’s actions had repercussions that affected our whole family, especially myself.
   As a loving son, I know this was not his intention. He has accepted responsibility and expressed
   to me many times the guilt and remorse he feels for his actions.

   As geriatric physicians, it was the duty of my husband and I to take care of the elderly and
   underserved. But now, as we are old ourselves, and enter our so called golden years, we are
   struggling to balance our own needs with the painful situation before us.

   I believe my son Senthil has learnt his life lessons in the hardest way possible. While his
   incarceration has been devastating and has affected his mental and physical health, I believe
   these hardships have made him a more responsible and accountable citizen. Out of the furnace,
   has come gold.

   Your Honor, I pray that you can see the loving son I know in your judgement. I plead for your
   clemency and that you can see his this error in his judgement is not a true reflection of the person
   I know him to be. If given the opportunity, I believe he can become a productive member of
   society and make his family and country proud.



   Sincerely,




   Mangala Ramamurthy, MD
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   January 11, 2020

   Honorable Cecilia M. Altonaga
   Wilkie D. Ferguson, Jr. United States Courthouse
   400 North Miami Avenue
   Room 12-2
   Miami, Florida 33128

   Dear Judge Altonaga,

   My name is Brittany Rico, and I am a civil servant and federal employee working as a survey
   statistician. I am writing this letter in support of Senthil Ramamurthy in advance of his upcoming
   sentencing before you for which he has pled guilty to conspiracy to commit health care fraud. I
   have known Senthil as a family friend for over twenty years through my lifelong friendship with
   his sister Meenakshi (Meena) Ramamurthy.

   I have always known Senthil to be a light-hearted, caring and devoted older brother and son to
   his sister and parents. As a child, I remember going over to the Ramamurthy home and observing
   the jovial and warm relationship between Senthil and his sister. In fact as sibling relationships
   can often grow apart in adulthood, I have admired the continued close relationship that he and
   Meena share. Senthil and Meena regularly scheduled time to visit each other even though
   Senthil’s career took him to Florida and Meena’s to California. Senthil’s devotion to family is
   one of his most admirable qualities and one that I hope he is able to continue to foster as the
   court considers his sentence.

   In addition to Senthil’s cherished family life, I have known him to be a dreamer with aspirations
   to bring joy to people’s life and contribute to society. Many of my fondest memories of Senthil
   were on my visits to the Ramamurthy home. Senthil would always excitedly greet me and was
   eager to include Meena and I in his latest musical composition. He would often set up musical
   instruments and speakers for us to learn and share in his appreciation of music. His enthusiasm
   for his hobby was infectious and his love of music brought a smile to my face and to many
   others. In later years, Senthil’s aspirations evolved to attend medical school, become a doctor,
   and make a difference in the health of others. In whatever endeavor he pursues, I have always
   known his intentions to be altruistic and his passion for his work to show through.

   While a series of events have led him to be in the situation he is today, Senthil’s decision to plea
   guilty to conspiracy to commit health care fraud shows that he has accepted responsibility for the
   consequences of his actions. In sentencing, I ask that you show compassion towards my lifelong
   family friend, a devoted brother and son who made a mistake and has taken responsibility for his
   actions. My hopes are that Senthil will be able to live a full, happy, and healthy life with his
   family outside of the confinements of the prison system.

   Sincerely,



   Brittany Rico




                                                                                                 7131507.1
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                                                      Tuesday, January 7th, 2020

   The Honorable Cecilia M. Altonaga
   Wilkie D. Ferguson, Jr. United States Courthouse
   400 North Miami Avenue
   Room 12-1
   Miami, FL 33128

   Dear Judge Altonaga,

            My name is Sergio and I am a scientist at the Centers for Disease Control and Prevention in Atlanta,
   Georgia. I have known the Ramamurthy’s since 1997. I have been and remain a good friend of Senthil’s
   sister, Meenakshi ‘Meena’ Ramamurthy, and spent a large part of my childhood and teenage years
   growing up at the Ramamurthy’s house, sharing many fond memories with Meena and her brother
   Senthil. As I understand, Senthil has pled guilty to conspiracy to commit health care fraud and is scheduled
   to appear before you for sentencing. I am writing today to share with Your Honor my perspectives of
   Senthil growing up, to highlight his positive characteristics and appeal to any sense of leniency in
   sentencing proportionate to his crime.

             I remember Senthil as a passionate and creative individual who cared deeply about his family.
   When I first met Senthil, he was teaching himself about music and how to compose and produce it. He
   had a knack for entertaining others and used music as his creative outlet and to connect to new friends.
   I can remember that when Senthil first learned of my own love for music, that he went out of his way to
   share some of his music production software with me. This generous act, without even knowing him at
   first, set the stage for many acts of kindness and generosity from him. Over the years, I can recall Senthil
   was also always present for Meena’s accomplishments, big or small, and he was one of those exceptional
   big brothers who took an active role in his sister’s life and wellbeing. I can recall Senthil going out of his
   way to ferry Meena to her extracurricular activities no matter the distance and time commitment on his
   part. I am also cognizant that his influence likely shaped his sister’s success and career as an independent
   cinematic director, producer, and now writer for Netflix™. I am sure his creativity and positive impact
   played a role in fostering Meena’s love for production and the cinematic arts. Growing up, Senthil stayed
   close to home for his education in order to be a part of his family’s life and to support his parents’
   practices. Over the years, I saw Senthil mature and want to advance his education with a medical degree,
   likely influenced strongly by his parents’ professions. I know that the family, and especially my friend,
   Meena, are the people they are today, because of the positive and reassuring role Senthil played within
   their lives.

             While it is regrettable that Senthil made a poor decision, this to me was a rare choice for him. I
   have known him to be a respectable individual who put himself before others time and time again,
   especially in relation to his family. In sentencing, I am asking Your Honor to view this in the context of a
   life that has been full of respect and American family values. He is accepting responsibility for his actions
   and owning up to his mistakes. Senthil still has a great deal of passion and creativity that he can use to
   redirect his life towards a positive outcome, something I know the criminal justice system of the United
   States truly seeks. And it is my sincere hope that Your Court can demonstrate the best part of the human
   spirit; compassion. If I can be of further reference in these matters, please do not hesitate to contact me
   regarding Senthil.

   Yours Sincerely,




                                                                                                         7131508.1
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   Sergio E Rodriguez, MSci, MPH, PhD
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       Hon. Cecilia M. Altonaga
       Wilkie D. Ferguson, Jr. United States Courthouse
       400 North Miami Avenue
       Room 12-2
       Miami, Florida 33128



       Dear Judge Altonaga,

       I am writing this letter in support of Senthil 'Rama' Ramamurthy in advance of his upcoming
       sentencing. I met Rama over a decade ago, and since then we have remained close, long term
       friends. In short, Rama has been like a brother to me.

       The first time we met, Rama was working as a photographer. I was impressed at his artistic skill,
       zest for life, and his attention to detail. As an artist and musician myself, I was excited to meet
       someone who shared a strong passion and commitment to his work. Since I have gotten to
       know Rama, I have always known him to a person of high morals and character. I understand
       that this statement may seem strange in the light of his current situation, and I do not mean to
       lessen the seriousness of his actions or absolve him of responsibility. There's no question that
       he made a poor decision in this instance, but knowing him intimately for almost ten years, I can
       assure you, Your Honor, this is a rare exception. I'm not surprised that he has accepted and
       acknowledged his responsibility, while further providing assistance to the prosecution. That is
       the Rama I know, and that's what I expect from him.

       Like myself, Rama was raised in an Indian immigrant, Hindu family. In the time I have known
       him, I have seen his respect for his culture and family first hand. His family means the world to
       him, and he especially holds in great reverence the service his physician parents brought to
       their community. Rama practiced his life with integrity and continued this service by giving back
       to his community and his temple. Rama has always strived for achievement as a medical
       student and artist, and I believe it was his naivete to reach those goals quickly, that have
       contributed to the circumstances which have led him before Your Honor.

       Since the inception of this case, Rama understood the gravity of the situation and the
       consequences of his actions. He has accepted responsibility for his actions and has lost
       everything he worked so hard for: his career and his personal and professional reputations.
       Most importantly, he recognizes the potential of losing his liberty and the opportunity to be there
       for his sister and his parents in their old age who raised him with so much love and care.
       Through it all he has never made excuses but rather has exhibited quiet grace about him. He
       acknowledges his wrong doings and has not harbored any bitterness or any anger. This speaks
       volumes as to the kind of person he is and will continue to be.

       In sentencing Rama, I'm asking Your Honor to view this bad act in the context of a life well lived.
       I'm asking this Honorable Court to show him compassion. He has accepted responsibility for his
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       actions and has lost everything he worked his entire life for. I cannot substitute my judgement
       for the wisdom of his Court and I cannot presume to know which sentence is correct. I always
       believe in the saying ' To err is human and to forgive divine' Hence I simply ask this court to
       show compassion towards my friend, a wonderful human who made a mistake and took
       responsibility for his actions. I thank you in advance for your consideration.




       Nayan Raina
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     Hon. Cecilia M Altonaga
     Wilkie D. Ferguson Jr. United States Courthouse
     400 North Miami A venue
     Room 12-2
     Miami, Florida 33128

     Dear Judge,

     I am writing this letter in support of Mr. Senthil Ramamurthy in advance of his upcoming sentencing. It is
     my understanding that he has plead guilty to conspiracy to commit healthcare fraud and he will soon be
     appearing before you in court.

     I consider Mr. Ramamurthy a dear friend of mine, since meeting in medical school in 2012 in Dominica,
     West Indies. Although Senthil took on a different career path, our friendship was always close. Knowing
     him for the past eight years, I feel strongly that he has maintained the values with which he came in to
     medical school with.

     Personally, I am currently in my second year of internal medicine residency training program in New
     York. At the onset of medical school classes, it was evident to me that Mr. Ramamurthy was of
     outstanding moral character, relied on his integrity to base his decisions and always paid due diligence to
     any task he was doing. This letter may come as a surprise given the current situation, however I do not
     intend to lessen the severity of these circumstances.

     Throughout the time I spent with Mr. Ramamurthy, I could see the professionalism, work ethic, and
     integrity with which he carried himself. As we progressed in our semesters, we began to have a better
     appreciation of the community around us. Our medical school was located in Dominica - a small,
     underserved community in the West Indies with a population ofroughly eighty thousand. As physicians
     in training, we felt a duty to provide any resources we could. One such difference we made was to raise
     funds through our medical school club, Physicians for Human Rights (PHR). Alongside Mr.
     Ramamurthy, we brainstormed active approaches to collect funds so that a local citizen could receive
     urgent surgery. Through teamwork, dedicated effort, and persistence we were able to match and actually
     surpass our goal of funds raised. Mr. Ramamurthy proved instrumental in providing sound insight, clear
     judgement, and was reliable to see this project to the finish line.

     It is my sincerest belief that Mr. Ramamurthy has remained committed to the above values and character
     traits as I once knew him to have and have seen over the years. I hope you can view the instance which
     has brought him before you as a rare lapse in his character, and see the man I know that is capable of great
     good.



     Reg~



     PJl~M.D.
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